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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                  LONDON DIVISION
                           CIVIL ACTION NO. 6:16-cv-00193-DLB

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.

ESTATE OF SUE C. MEADOWS, et al.                                               DEFENDANTS

                MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

       Comes the Plaintiff, United States of America, by and through counsel and hereby

respectfully moves the Court for an order granting leave to file an Amended Complaint in the

above-referenced matter. In support of this Motion, the Plaintiff states as follows:

       1. The Complaint was filed in this matter on September 6, 2016.

       2. At the time that the Complaint was filed the probate case for Sue C. Meadows was open

           and therefore the estate of Sue C. Meadows and her heirs listed in the probate case were

           named as parties to the above-referenced action.

       3. The Plaintiff has since discovered that the probate case will likely be settled and closed

           before the foreclosure action at hand is resolved, therefore, the Plaintiff wishes to

           amend its complaint to join the unknown spouses of each of the heirs of Sue C.

           Meadows as parties to this action to ensure that all potential interests in the property

           are accounted for.

       Therefore, the Plaintiff, United States of America, respectfully requests an Order granting

leave to file an Amended Complaint. A copy of the Amended Complaint to be filed in this matter

has been attached hereto and is incorporated herein by reference.
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                                                              Respectfully Submitted,



                                                              By: /s/ Lauren B. Durham
                                                              Attorney for the Plaintiff:
                                                              James S. Watson/ Lauren B. Durham
                                                              Foreman Watson Holtrey, LLP
                                                              530 Frederica Street
                                                              Owensboro, Kentucky 42301
                                                              Phone: (270)689-2424
                                                              Fax: (270)689-2420


                                      CERTIFICATE OF SERVICE

        I hereby certify that on November 22, 2016, I electronically filed the foregoing with the
clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to
the following:

       Citizens National Bank, c/o John S. Gillum


         I further certify that I mailed the foregoing document and the notice of electronic filing
by first class mail to the following non-CM/ECF participants:


       Estate of Sue C. Meadows
       c/o Billy King
       802 Meadows Grove Road
       Strunk, Kentucky 42649

       Benny King
       53 Donald E. King Road
       Pine Knot, Kentucky 42635

       Kenny King
       428 Carson Road
       Helenwood, Tennessee 37755

       Kyle King
       2682 Lee Ann Drive
       Marietta, Georgia 30066
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    Rodney King
    2179 Wood Glen Lane
    Marietta, Georgia 30067

    Tony King
    5532 Magnolia Way
    Buford, Georgia 30518

    Shelba Meadows
    4928 Glaze Drive
    Atlanta, Georgia 30360

    Jennifer Morgan
    5119 Oak Branch Lane
    Acworth, Georgia 30102

    Melba Privett
    1277 Meadows Grove Road
    Strunk, Kentucky 42649

    Lisa Reagan
    7169 Brimstone Road
    Robbins, Tennessee 37852

    Billy King
    802 Meadows Grove Road
    Strunk, Kentucky 42649

    McCreary County Courthouse
    and Public Square Corp.
    P.O. Box 579
    Whitley City, Kentucky 42653


                                                /s/ Lauren B. Durham
                                                Lauren B. Durham
                                                Foreman Watson Holtrey, LLP
                                                Attorney for Plaintiff
